Case 2:04-cv-02399-.]DB-dkv Document 25 Filed 07/26/05 Page 1 of 2 Page|D 48

IN THE UNITED sTATEs DisTRICr COURT F"F-D BY mQl§_'-:'i>.o_
FoR THE wEsTERN DISTRICT oF TENNESSEE

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DIRECTV, rNC., a Caiiromia Corp., CLEP;<WJ%A§‘M(W%DM
Plaintiff, V‘f.-@ {}F `It~£, ti::;f¢;§;»j;_g
v. NO_ 04-2399 s v
issss PoweLL,
Defendant.

 

ORDER DIR_ECTING DEFENDANT TO COMPLY WITH THE COURT’S J UL,Y 6 ORDER

 

Bet`ore the Court is the July 20, 2005 brief of pro se Defendant, Jesse Powell, filed in
response to the Court’s July 6, 2005 order directing the parties to submit written positions on the
issue of what effect, if any, Defendant’s bankruptcy has on this case. ln his brief, however, Powell
has not addressed the issue nor submitted any proof indicating that he is in fact involved in
bankruptcy proceedings Therefore, Defendant is hereby DIRECTED to comply with the Co urt’s J ul y
6 order and to submit a written legal argument within eleven (l l) days of the entry hereof addressing
the impact of his bankruptcy on this proceedingl The Defendant is Warned that failure to comply
with the Court’s order may result in a judgment being entered against him.

l
1T ls so oRDERED this Z§r day of July, 2005.

 

J_ IEL BREEN \
ITE sTATEs DrsTRIC'r ruDGE

Tnls document entered on the docket sheet in compliance
1 mm nine ss and/or 79(3) FncP on ’el "(3

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 25 in
case 2:04-CV-02399 was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

Antonio L. Matthews

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.1 esse Powell
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Honorable .1. Breen
US DISTRICT COURT

